                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MISSOURI
                          SOUTHWESTERN DIVISION

JODELLE L. KIRK                       )
                                      )
                  Plaintiff,          )
                                      )
v.                                    )    Case No: 3:13-cv-05032-DGK
                                      )
SCHAEFFLER GROUP USA, INC., et al.,   )
                                      )
                  Defendants.         )

           AGREED PROPOSED JURY INSTRUCTIONS (ANNOTATED)




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                                    INSTRUCTION NO. ___

       Members of the Jury Panel, if you have a cell phone, PDA, Blackberry, smart phone,

iPhone and any other wireless communication device with you, please take it out now and turn it

off. Do not turn it to vibration or silent; power it down. During jury selection, you must leave it

off. (Pause for thirty second to allow them to comply, then tell them the following:)

       If you are selected as a juror (briefly advise jurors of your court’s rules concerning

cellphones, cameras and any recording devices).

       I understand you may want to tell your family, close friends, and other people about your

participation in this trial so that you can explain when you are required to be in court, and you

should warn them not to ask you about this case, tell you anything they know or think they know

about it, or discuss this case in your presence. You must not post any information on a social

network, or communicate with anyone, about the parties, witnesses, participants, claims,

evidence, or anything else related to this case, or tell anyone anything about the jury’s

deliberations in this case until after I accept your verdict or until I give you specific permission

to do so. If you discuss the case with someone other than the other jurors during deliberations,

you may be influenced in your verdict by their opinions. That would not be fair to the parties

and it would result in a verdict that is not based on the evidence and the law.

       While you are in the courthouse and until you are discharged in this case, do not provide

any information to anyone by any means about this case. Thus, for example, do not talk face-to-

face or use any electronic device or media, such as the telephone, a cell or smart phone, camera,

recording device, Blackberry, PDA, computer, the Internet, any Internet service, any text or

instant messaging service, any Internet chat room, blog, or Website such as Facebook, MySpace,

YouTube, or Twitter, or in any other way communicate to anyone any information about this

case until I accept your verdict or until you have been excused as a juror.



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       Do not do any research -- on the Internet, in libraries, in the newspapers, or in any other

way -- or make any investigation about this case on your own. Do not visit or view any place

discussed in this case and do not use Internet programs or other device to search for or to view

any place discussed in the testimony. Also, do not research any information about this case, the

law, or the people involved, including the parties, the witnesses, the lawyers, or the judge until

you have been excused as jurors.

       The parties have a right to have this case decided only on evidence they know about and

that has been presented here in court. If you do some research or investigation or experiment that

we don’t know about, then your verdict may be influenced by inaccurate, incomplete or

misleading information that has not been tested by the trial process, including the oath to tell the

truth and by cross-examination. Each of the parties is entitled to a fair trial, rendered by an

impartial jury, and you must conduct yourself so as to maintain the integrity of the trial process.

If you decide a case based on information not presented in court, you will have denied the parties

a fair trial in accordance with the rules of this country and you will have done an injustice. It is

very important that you abide by these rules. Failure to follow these instructions could result in

the case having to be retried.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 1.01




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                                     INSTRUCTION NO.___

          During this recess, and every other recess, do not discuss this case among yourselves or

with anyone else, including your family and friends. Do not allow anyone to discuss the case

with you or within your hearing. “Do not discuss” also means do not e-mail, send text messages,

blog or engage in any other form of written, oral or electronic communication, as I instructed you

before.

          Do not read any newspaper or other written account, watch any televised account, or

listen to any radio program on the subject of this trial. Do not conduct any Internet research or

consult with any other sources about this case, the people involved in the case, or its general

subject matter. You must keep your mind open and free of outside information. Only in this way

will you be able to decide the case fairly based solely on the evidence and my instructions on the

law. If you decide this case on anything else, you will have done an injustice. It is very

important that you follow these instructions.

          I may not repeat these things to you before every recess, but keep them in mind until you

are discharged.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), Nos. 1.02 / 2.2



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                                     INSTRUCTION NO.___

       Ladies and Gentlemen: I am now going to give you some instructions about this case and

about your duties as jurors. At the end of the trial I will give you more instructions. I may also

give you instructions during the trial. All instructions - those I give you now and those I give you

later – [whether they are in writing or given to you orally] are equally important and you must

follow them all.

       [Describe your court’s policy, such as “You must leave your cell phone, PDA, smart

phone, iPhone, tablet computer, any other wireless communications devices in the jury room

during the trial and may only use them during breaks. However, you are not allowed to have

those devices in the jury room during your deliberations. You may give them to the [bailiff]

[deputy clerk] [court security officer] for safekeeping just before you start to deliberate. They

will be returned to you when your deliberations are complete.”]

       This is a civil case brought by the Plaintiff against the Defendants. Plaintiff alleges that

the Defendants caused her to be exposed to trichloroethylene (TCE), which injured her. The

Defendants deny these allegations. It will be your duty to decide from the evidence whether the

Plaintiff is entitled to a verdict against the Defendants.

       Your duty is to decide what the facts are from the evidence. You are allowed to consider

the evidence in the light of your own observations and experiences. After you have decided what

the facts are, you will have to apply those facts to the law, which I give you in these and in my

other instructions. That is how you will reach your verdict. Only you will decide what the facts

are. However, you must follow my instructions, whether you agree with them or not. You have

taken an oath to follow the law that I give you in my instructions.




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        In deciding what the facts are, you may have to decide what testimony you believe and

what testimony you do not believe. You may believe all of what a witness says, or only part of it,

or none of it.

        In deciding what testimony to believe, consider the witnesses’ intelligence, their

opportunity to have seen or heard the things they testify about, their memories, any reasons they

might have to testify a certain way, how they act while testifying, whether they said something

different at another time, whether their testimony is generally reasonable, and how consistent

their testimony is with other evidence that you believe.

        Do not let sympathy, or your own likes or dislikes, influence you. The law requires you

to come to a just verdict based only on the evidence, your common sense, and the law that I give

you in my instructions, and nothing else.

        Nothing I say or do during this trial is meant to suggest what I think of the evidence or I

think your verdict should be.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 1.03




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                                       INSTRUCTION NO.___

        When I use the word “evidence,” I mean the testimony of witnesses; documents and other

things I receive as exhibits; facts that I tell you the parties have agreed are true; and any other

facts that I tell you to accept as true.

        Some things are not evidence. I will tell you now what is not evidence:

        1.      Lawyers’ statements, arguments, questions, and comments are not evidence.

        2.      Documents or other things that might be in court or talked about, but that I do not

receive as exhibits, are not evidence.

        3.      Objections are not evidence. Lawyers have a right – and sometimes a duty – to

object when they believe something should not be a part of the trial. Do not be influenced one

way or the other by objections. If I sustain a lawyer’s objection to a question or an exhibit, that

means the law does not allow you to consider that information. When that happens, you have to

ignore the question or the exhibit, and you must not try to guess what the information might have

been.

        4 . Testimony and exhibits that I strike from the record, or tell you to disregard, are not

evidence, and you must not consider them.

        5. Anything you see or hear about this case outside the courtroom is not evidence, and

you must not consider it unless I specifically tell you otherwise.

        Also, I might tell you that you can consider a piece of evidence for one purpose only, and

not for any other purpose. If that happens, I will tell you what purpose you can consider the

evidence for and what you are not allowed to consider it for. You need to pay close attention

when I give an instruction about evidence that you can consider for only certain purposes,

because you might not have that instruction in writing later in the jury room.




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       Some of you may have heard the terms “direct evidence” and “circumstantial evidence.”

You should not be concerned with those terms, since the law makes no distinction between the

weight to be given to direct and circumstantial evidence.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 1.04




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                                   INSTRUCTION NO.___

       During the trial, I will sometimes need to talk privately with the lawyers. I may talk with

them here at the bench while you are in the courtroom, or I may call a recess and let you leave

the courtroom while I talk with the lawyers. Either way, please understand that while you are

waiting, we are working. We have these conferences to make sure that the trial is proceeding

according to the law and to avoid confusion or mistakes. We will do what we can to limit the

number of these conferences and to keep them as short as possible.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 1.05



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                                   INSTRUCTION NO.___

       At the end of the trial, you will have to make your decision based on what you recall of

the evidence. You will not have a written copy of the testimony to refer to. Because of this, you

have to pay close attention to the testimony and other evidence as it is presented here in the

courtroom.

       If you wish, however, you may take notes to help you remember what witnesses say. If

you do take notes, do not show them to anyone until you and your fellow jurors go to the jury

room to decide the case after you have heard and seen all of the evidence. And do not let taking

notes distract you from paying close attention to the evidence as it is presented. The Clerk will

provide each of you with a pad of paper and a pen or pencil. At each recess, leave them

_________________________________.

       When you leave at night, your notes will be locked up and will not be read by anyone.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 1.06



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                                      INSTRUCTION NO.___

        Jurors, to make sure this trial is fair to all parties, you must follow these rules:

        First, do not talk or communicate among yourselves about this case, or about anyone

involved with it, until the end of the case when you go to the jury room to consider your verdict.

        Second, do not talk with anyone else about this case, or about anyone involved with it,

until the trial has ended and you have been discharged as jurors.

        Third, when you are outside the courtroom, do not let anyone tell you anything about the

case, or about anyone involved with it until the trial has ended and your verdict has been

accepted by me. If someone tries to talk to you about the case during the trial, please report it to

the [bailiff] [deputy clerk]. (Describe person).

        Fourth, during the trial, do not talk with or speak to any of the parties, lawyers, or

witnesses in this case – not even to pass the time of day. It is important not only that you do

justice in this case, but also that you act accordingly. If a person from one side of the lawsuit sees

you talking to a person from the other side – even if it is just about the weather – that might raise

a suspicion about your fairness. So, when the lawyers, parties and witnesses do not speak to you

in the halls, on the elevator or the like, you must understand that they are not being rude. They

know they are not supposed to talk to you while the trial is going on, and they are just following

the rules.

        Fifth, you may need to tell your family, close friends, and other people that you are a

part of this trial. You can tell them when you have to be in court, and you can warn them not to

ask you about this case, tell you anything they know or think they know about this case, or talk

about this case in front of you. But, you must not communicate with anyone or post information

about the parties, witnesses, participants, claims, evidence, or anything else related to this case.

You must not tell anyone anything about the jury’s deliberations in this case until after I accept



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your verdict or until I give you specific permission to do so. If you talk about the case with

someone besides the other jurors during deliberations, it looks as if you might already have

decided the case or that you might be influenced in your verdict by their opinions. That would

not be fair to the parties, and it might result in the verdict being thrown out and the case having

to be tried over again. During the trial, while you are in the courthouse and after you leave for

the day, do not give any information to anyone, by any means, about this case. For example, do

not talk face-to-face or use any electronic device, such as a telephone, cell phone, smart phone,

Blackberry, PDA, computer, or computer-like device. Likewise, do not use the Internet or any

Internet service; do not text or send instant messages; do not go on an Internet chat room, blog,

or other websites such as Facebook, MySpace, YouTube, or Twitter. In other words, do not

communicate with anyone about this case – except for the other jurors during deliberations –

until I accept your verdict.

       Sixth, do not do any research -- on the Internet, in libraries, newspapers, or otherwise –

and do not investigate this case on your own. Do not visit or view any place discussed in this

case, and do not use the Internet or other means to search for or view any place discussed in the

testimony. Also, do not look up any information about this case, the law, or the people involved,

including the parties, the witnesses, the lawyers, or me.

       Seventh, do not read any news stories or Internet articles or blogs that are about the case,

or about anyone involved with it. Do not listen to any radio or television reports about the case or

about anyone involved with it. In fact, until the trial is over I suggest that you avoid reading any

newspapers or news journals at all, and avoid listening to any television or radio newscasts at all.

I do not know whether there will be news reports about this case, but if there are, you might

accidentally find yourself reading or listening to something about the case. If you want, you can




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have someone clip out any stories and set them aside to give to you after the trial is over. [I can

assure you, however, that by the time you have heard all the evidence in this case, you will know

what you need to return a just verdict.

       The parties have a right to have you decide their case based only on evidence admitted

here in court. If you research, investigate, or experiment on your own, or get information from

other sources, your verdict might be influenced by         inaccurate, incomplete, or misleading

information. Witnesses here in court take an oath to tell the truth, and the accuracy of their

testimony is tested through cross-examination. All of the parties are entitled to a fair trial and an

impartial jury, and you have to conduct yourselves in a way that assures the integrity of the trial

process. If you decide a case based on information not admitted in court, you will deny the

parties a fair trial. You will deny them justice. Remember, you have taken an oath to follow the

rules, and you must do so.

       Eighth, do not make up your mind during the trial about what your verdict should be.

Keep an open mind until after you and your fellow jurors have discussed all the evidence.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 1.08




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                                    INSTRUCTION NO.___

       The trial will proceed in the following manner:

       First, the Plaintiff’s lawyer may make an opening statement. Next, the Defendants’

lawyer may make an opening statement. An opening statement is not evidence, but it is a

summary of the evidence the lawyers expect you will see and hear during the trial.

       After opening statements, the Plaintiff will then present evidence. The Defendants’

lawyer will have a chance to cross-examine the Plaintiff’s witnesses. After the Plaintiff has

finished presenting her case, the Defendants may present evidence, and the Plaintiff’s lawyer

will have a chance to cross-examine their witnesses.

       After you have seen and heard all of the evidence from both sides, the lawyers will make

closing arguments that summarize and interpret the evidence. Just as with opening statements,

closing arguments are not evidence. After the closing arguments, I will instruct you further on

the law, and you will go to the jury room to deliberate and decide on your verdict.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 1.09



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                                   INSTRUCTION NO.___

       The Plaintiff and the Defendants have stipulated—that is, they have agreed—that if

__________ were called as a witness [(he) (she)] would testify in the way counsel have just

stated. You should accept that as being _________’s testimony, just as if it had been given here

in court from the witness stand.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 2.03



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                                  INSTRUCTION NO.___

       Certain charts and summaries have been shown to you in order to help explain the facts

disclosed by the books, records, or other underlying evidence in the case. Those charts or

summaries are used for convenience. They are not themselves evidence or proof of any facts. If

they do not correctly reflect the facts shown by the evidence in the case, you should disregard

these charts and summaries and determine the facts from the books, records or other underlying

evidence.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 2.12



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                                      INSTRUCTION NO.___

       Testimony will now be presented to you in the form of a deposition. A deposition is the

recorded answers a witness made under oath to questions asked by lawyers before trial. The

deposition testimony to be offered [was recorded in writing and now will be read to you] [was

electronically videotaped and that recording now will be played for you]. You should consider

the deposition testimony, and judge its credibility, as you would that of any witness who testifies

here in person. [You should not place any significance on the manner or tone of voice used to

read the witness’s answers to you].




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 2.15



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                                    INSTRUCTION NO.___

        Members of the jury, the instructions I gave at the beginning of the trial and during the

trial are still in effect. Now I am going to give you some additional instructions.

        You have to follow all of my instructions – the ones I gave you earlier, as well as those I

give you now. Do not single out some instructions and ignore others, because they are all

important. This is true even though I am not going to repeat some of the instructions I gave you

during the trial.

        You will have copies of all of [the instructions I am about to give you now] [all of the

instructions] in the jury room. Remember, you have to follow all instructions, no matter when I

give them, whether or not you have written copies.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 3.02



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                                   INSTRUCTION NO.___

       I have not intended to suggest what I think your verdicts should be by any of my rulings

or comments during the trial.

       [During this trial I have asked some questions of witnesses. Do not try to guess my

opinion about any issues in the case based on the questions I asked.]




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 3.03



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                                    INSTRUCTION NO.___

        In deciding what the facts are, you may have to decide what testimony you believe and

what testimony you do not believe. You may believe all of what a witness said, or only part of it,

or none of it.

        You may consider a witness’s intelligence; the opportunity the witness had to see or hear

the things testified about; a witness’s memory, knowledge, education, and experience; any

reasons a witness might have for testifying a certain way; how a witness acted while testifying;

whether a witness said something different at another time; whether a witness’s testimony

sounded reasonable; and whether or to what extent a witness’s testimony is consistent with other

evidence you believe.

        In deciding whether to believe a witness, remember that people sometimes hear or see

things differently and sometimes forget things. You will have to decide whether a contradiction

is an innocent misrecollection, or a lapse of memory, or an intentional falsehood; that may

depend on whether it has to do with an important fact or only a small detail.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 3.04 (Credibility of Witnesses)



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                                       INSTRUCTION NO.___

        In these instructions you are told that your verdict depends on whether you find certain facts

have been proved. The burden of proving a fact is upon the party whose claim depends upon that fact.

In this case the jury must consider two different burdens of proof.

        First, is the preponderance of the evidence burden of proof. To prove something by the

preponderance of the evidence is to prove that it is more likely true than not true. It is determined by

considering all of the evidence and deciding which evidence is more believable. If, on any issue in

the case, the evidence is equally balanced, you cannot find that issue has been proved.

        Second, is the clear and convincing evidence burden of proof. Clear and convincing evidence

is evidence that produces in your mind a firm belief or conviction as to the matter at issue. This

involves a greater degree of persuasion than is necessary to meet the preponderance of the evidence

standard; however, proof to an absolute certainty is not required.

        Whether a party has met its burden of proof is not necessarily determined by the greater

number of witnesses or exhibits a party has presented.

        You may have heard of the term “proof beyond a reasonable doubt.” That is a stricter

standard which applies in criminal cases. It does not apply in civil cases such as this. You should,

therefore, put it out of your minds.




SOURCE: Tamko v. Gregory, No. No. 07-05115-CV-SW-DGK (Doc. 117, Instruction No. 10).



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                                  INSTRUCTION NO.___

       The term “negligent” or “negligence” as used in these instructions means the failure to

use that degree of care that an ordinarily careful company would use under the same or similar

circumstances.




SOURCE: MAI 11.07 (7th Ed.), (Definitions of Negligence)




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                                     INSTRUCTION NO.___

       There are rules you must follow when you go to the jury room to deliberate and return

with your verdict.

       First, you will select a foreperson. That person will preside over your discussions and

speak for you here in court.

       Second, it is your duty, as jurors, to discuss this case with one another in the jury room.

You should try to reach agreement, if you can do this without going against what you believe to

be the truth, because all jurors have to agree on the verdict.

       Each of you must come to your own decision, but only after you have considered all the

evidence, discussed the evidence fully with your fellow jurors, and listened to the views of your

fellow jurors.

       Do not be afraid to change your mind if the discussion persuades you that you should.

But, do not come to a decision just because other jurors think it is right, or just to reach a verdict.

Remember you are not for or against any party. You are judges – judges of the facts. Your only

job is to study the evidence and decide what is true.

       Third, if you need to communicate with me during your deliberations, send me a note

signed by one or more of you. Give the note to the [marshall] [bailiff] [court security officer] and

I will answer you as soon as I can, either in writing or here in court. While you are deliberating,

do not tell anyone - including me - how many jurors are voting for any side.

       Fourth, your verdict has to be based only on the evidence and on the law that I have

given to you in my instructions. Nothing I have said or done was meant to suggest what I think

your verdict should be. The verdict is entirely up to you.

       Finally, the verdict form is your written decision in this case. The form reads: (read form).

You will take this form to the jury room, and when you have all agreed on the verdicts, your



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foreperson will fill in the form, sign and date it, and tell the [marshall] [bailiff] [court security

officer] that you are ready to return to the courtroom.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 3.06




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Date: February 16, 2016                    Respectfully submitted,


        HUMPHREY, FARRINGTON &                 DENTONS US LLP
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